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 5
     Attorney for Defendant
     HUANCHANG MA
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                        )       No. 2:11-CR-00166 MCE
                                                      )
                                                      )
10             Plaintiff,                             )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       FINDINGS
12
     HUANCHANG MA,                                    )
                                                      )       Date: April 3, 2014
13
                                                      )       Time: 9:00 a.m.
               Defendant.                             )       Judge: Honorable Morrison C. England, Jr.
14
                                                      )
                                                      )
15
                                                      )
16
               The United States of America through its undersigned counsel, Christiaan Highsmith,
17
     Assistant United States Attorney, together with counsel for defendant Huanchang Ma, John R.
18

19   Manning, Esq., hereby stipulate the following:

20        1. By previous order, this matter was set for status conference on February 27, 2014.
21
          2. By this stipulation, defendant now moves to continue status conference until April 3,
22
     2014 and to exclude time between February 27, 2014 and April 3, 2014 under the Local Code T-
23

24
     4 (to allow defense counsel time to prepare).

25        3.   The parties agree and stipulate, and request the Court find the following:
26
               a. This case is one in a series of cases developed from a lengthy DEA/Elk Grove
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                   PD/Sac. SO investigation into “grow houses” in the Elk Grove area. Several
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        individuals have been charged. Many, if not all the defendants a part of this
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 2      investigation are non English speakers and require the services of an interpreter to

 3      communicated with. The widespread need for Cantonese/Mandarin interpreters in
 4
        this case, the companion cases(s), and in general, has made scheduling meetings very
 5
        difficult. However, as this case is winding up, scheduling has become less difficult.
 6

 7
        To that end, the defense has provided the government with additional discovery and

 8      the Government needs to time to review the material and evaluate their next step.
 9   b. The defense has proffered a proposed resolution to the government and the
10
        government needs additional time to review the settlement proposal. Additional
11
        meetings between counsel for Mr. Ma and the government are necessary to discuss
12

13      the proposed resolution.

14   c. The government has suggested additional information regarding Mr. Ma may impact
15
        settlement and the defense is in the process of acquiring the information. This
16
        information will relevant whether the government agrees to modify their present offer
17
        to resolve or not.
18

19   d. Mr. Ma lives in San Francisco area and speaks only Mandarin. Once the government

20      has evaluated the information provided be the defense, the defense will need
21
        additional time to review the government’s response and the anticipated plea
22
        agreement.
23

24
     e. The government does not object to the continuance.

25   f. Based on the above-stated findings, the ends of justice served by granting the
26      requested continuance outweigh the best interests of the public and the defendant in a
27
        speedy trial within the original date prescribed by the Speedy Trial Act.
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            g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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 2              Section 3161(h)(7)(A) within which trial must commence, the time period of

 3              February 27, 2014, to April 3, 2014, inclusive, is deemed excludable pursuant to 18
 4
                United States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code
 5
                T-4 because it results from a continuance granted by the Court at defendant’s request
 6

 7
                on the basis of the Court’s finding that the ends of justice served by taking such

 8              action outweigh the best interest of the public and the defendant in a speedy trial.
 9     4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
10
            Speedy Trial Act dictate that additional time periods are excludable from the period within
11
            which a trial must commence.
12

13   IT IS SO STIPULATED.

14   Dated: February 21, 2014                                      /s/ John R. Manning
                                                                  JOHN R. MANNING
15
                                                                  Attorney for Defendant
16                                                                Huanchang Ma

17   Dated: February 21, 2014                                     Benjamin B. Wagner
                                                                  United States Attorney
18

19                                                                by:/s/ Christiaan Highsmith
                                                                  CHRISTIAAN HIGHSMITH
20                                                                Assistant U.S. Attorney
21

22                                                ORDER
23
             IT IS SO ORDERED.
24
     Dated: February 25, 2014
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